Case 1:17-bk-10644         Doc 11    Filed 06/03/17 Entered 06/03/17 11:21:32             Desc Main
                                     Document     Page 1 of 7



                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF RHODE ISLAND
 In re:

 Millard D. Norton, III,                                       17-10644
                                                               Chapter 7
                       Debtor.

                      MOTION FOR SANCTIONS AND DAMAGES
               AGAINST CREDITORS CONTINENTAL FINANCE COMPANY
                 AND CELTIC BANK FOR VIOLATION OF 11 U.S.C. § 362

          Millard D. Norton, III (the “Debtor”), pursuant to 11 U.S.C. §§ 105(a) and 362(k)(1),

respectfully moves this Court for sanctions and damages against creditors Continental Finance

Company and Celtic Bank (collectively, the “Creditors”) for willful violations of the Bankruptcy

Code’s automatic stay provisions. The motion relates to the Creditors’ efforts to collect the

balance owed on a Surge MasterCard credit card. In support of his motion, the Debtor states as

follows:

                                              PARTIES

1.        The Debtor is a resident of Rhode Island. He is the sole debtor in this Chapter 7 case, and

the obligor on a Surge MasterCard credit card ending in 9948 (the “Credit Card”) which is listed

on his Schedule E/F of unsecured debts.

2.        Celtic Bank is the issuer of the Credit Card. Celtic Bank is chartered by the State of Utah

and has its headquarters in Salt Lake City.

3.        Continental Finance Company (“Continental Finance”) is the servicer and, and upon

information and belief, Celtic Bank’s agent relative to the Credit Card. Continental Finance is a

Delaware limited liability company, with headquarters in Newark, Delaware.




                                                   1
Case 1:17-bk-10644        Doc 11   Filed 06/03/17 Entered 06/03/17 11:21:32                Desc Main
                                   Document     Page 2 of 7




                                        JURISDICTION

4.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. 1334(a) and (b). This is

a core proceeding pursuant to 28 U.S.C. 157(b)(2). However, in the event this case is determined

to be a noncore proceeding, the Debtor consents to entry of a final order by this Court.

5.     This Court has personal jurisdiction over Celtic Bank and Continental Finance based on

their minimum contacts with Rhode Island, including issuing the Credit Card to the Debtor in

Rhode Island, and attempting to collect the balance during his active Chapter 7 bankruptcy case

pending in this jurisdiction.

                                             VENUE

6.     Venue is proper pursuant to 28 U.S.C. § 1391.

                                             FACTS

7.     In or around March 2016, the Credit Card was issued to the Debtor by Celtic Bank, with

servicing and other rights apparently being thereafter assigned to Continental Finance.

8.     On April 21, 2017, the Debtor commenced this bankruptcy case by filing a petition for

relief under chapter 7 of the Bankruptcy Code.

9.     Along with his petition, the Debtor filed a Schedule E/F form listing his unsecured debts

and creditors.

10.    The Credit Card was listed on page 9 at line 4.24 on the Debtor’s Schedule E/F. The

Creditor’s address listed in Schedule E/F is the same address designated in a January 23, 2017

statement as the location to which inquiries about the Credit Card should be sent. As of the date

of this motion, that same address is also listed on Continental Finance’s website




                                                 2
Case 1:17-bk-10644       Doc 11    Filed 06/03/17 Entered 06/03/17 11:21:32              Desc Main
                                   Document     Page 3 of 7



(www.continentalfinance.net) as the Surge MasterCard customer service address. Copies of the

statement and website listing are attached hereto as “Exhibit A”.

11.    On April 26, 2017, the Bankruptcy Noticing Center filed a Certificate of Notice (Docket

No., 10), indicating that notice of the Debtor’s bankruptcy case had been dispatched to his

creditors. According to that document, notice was sent to the address on the January 2017 Surge

MasterCard statement, which belongs to Continental Finance. An annotated copy of that

Certificate of Notice is attached hereto as “Exhibit B”.

12.    Celtic Bank had notice of the Debtor’s case, as notice was sent to Continental Finance, its

servicer and agent.

13.    Neither of the Creditors have petitioned this Court in this case for relief from the

automatic stay imposed by 11 U.S.C. § 362.

14.    On or about May 3, 2017, the Debtor received a letter concerning the Credit Card. The

letter indicated that the Debtor was behind in his payments and that it was being sent in an

attempt to collect a debt. The letter is attached along with other related documents, as “Exhibit

C”.

15.    On May 12, 2017, the Debtor’s undersigned attorney responded by drafting and mailing a

letter to the creditor informing it of the Debtor’s bankruptcy case and the automatic stay

provisions of 11 U.S.C. § 362. Copies of the creditor’s collection letter, relevant portion of the

Debtor’s Schedule E/F, and bankruptcy notice were enclosed with the response. A redacted copy

of the response and its enclosures is attached hereto as “Exhibit C”.

16.    Upon information and belief, the response was received, as it has not been returned as

undeliverable.




                                                 3
Case 1:17-bk-10644       Doc 11    Filed 06/03/17 Entered 06/03/17 11:21:32              Desc Main
                                   Document     Page 4 of 7



17.    Subsequently, on or about May 23, 2017, the Debtor received a statement stating that

“YOUR ACCOUNT IS SERIOUSLY PAST DUE AND WE ARE CONSIDERING

ADDITIONAL COLLECTION ACTION.” A copy of that statement is attached as “Exhibit D”.

18.    Upon information and belief, Continental Finance is and was acting for itself and as the

agent of Celtic Bank in attempting to collect the Credit Card balance.

19.    The Debtor has suffered mental and emotional distress as a result of the Creditors’

actions. He believed that his bankruptcy case would protect him from such collection actions so

that he could pursue a fresh financial start. The Creditors’ actions led the Debtor to believe that

his bankruptcy filing would have no impact on the Credit Card, causing him to suffer stress,

anxiety, and worry. In addition, the Debtor has had to devote time, including some work time, to

addressing the Creditors’ actions with his undersigned attorney.

                    LEGAL ARGUMENT AND CLAIM FOR RELIEF—
                       VIOLATION OF THE AUTOMATIC STAY

20.    The commencement of a bankruptcy case imposes an automatic stay, prohibiting

creditors from, among other things, engaging in “any act to collect, assess, or recover a claim

against the debtor that arose before the commencement of the case…” 11 U.S.C. § 362(a)(6).

21.    A Debtor may seek relief from willful violations of the automatic stay under 11 U.S.C

362(k)(1). This Court also has power to impose sanctions for automatic stay violations pursuant

to 11 U.S.C. § 105(a).

22.    A stay violation is willful if a creditor has knowledge of the automatic stay and intends

the actions underlying the violation. Fleet Mortgage Group Inc. v. Kaneb (In re Kaneb), 196

F.3d 265, 269 (1st Cir. 1999) (internal citations omitted). “In cases where the creditor received

actual notice of the automatic stay, courts must presume that the [stay] violation was deliberate.”

Id. (emphasis added). A debtor injured by willful violations of the automatic stay is entitled to

                                                  4
Case 1:17-bk-10644       Doc 11     Filed 06/03/17 Entered 06/03/17 11:21:32             Desc Main
                                    Document     Page 5 of 7



“recover actual damages, including costs and attorneys’ fees, and, in appropriate circumstances,

may recover punitive damages.” 11 U.S.C. § 362(k)(1). Actual damages recoverable under 11

U.S.C. § 362(k)(1) include claims for emotional distress. Kaneb, 196 F.3d at 270.

23.    In addition to actual damages, costs and attorneys’ fees, a court may also award a Debtor

punitive damages in appropriate circumstances. 11 U.S.C. § 362(k)(1). The primary purpose to

be served by an award of punitive damages is to deter the type of actions and conduct that

constitute the stay violation. See In re Vaughn, 542 B.R. 589, 603 (Bankr. M.D. Ala. 2015).

Whether a court should award punitive damages typically depends on five factors: (1) the nature

of the creditor’s conduct, (2) the nature and extent of harm suffered by the debtor, (3) the

creditor’s ability to satisfy a punitive damages award, (4) the creditor’s motives, and (5) whether

there was any provocation on the part of the debtor. Id. (internal citations omitted).

24.    In this case, as explained above, Continental Finance had actual knowledge of the

Debtor’s bankruptcy case and the automatic stay. Since Continental Finance was acting as Celtic

Bank’s agent and servicer, it too had knowledge of the Debtor’s case and is equally liable for the

stay violations. See Oberther v. Midland Credit Management, Inc. et al., 45 F. Supp. 3d 125, 130

(D. Mass. 2014) (holding that in the context of the FDCPA, a principal entity which itself is

considered a debt collector, may be held vicariously liable for acts or omissions of its debt

collector agents); see also Corporacion De Mercadeo Agricola v. Mellon Bank Intern., 608 F.2d

43, 46 (2d. Cir. 1979) (discussing agency principles, and stating that, “Notice to the agent…is

notice to the principal, unless the person giving notice has reason to know that the agent has no

duty to or will not transmit the message to the principal.”).

25.    Notwithstanding the existence of the automatic stay, Continental Finance, both for itself

and as servicer for Celtic Bank, sent the Debtor at least one letter attempting to collect money



                                                  5
Case 1:17-bk-10644       Doc 11    Filed 06/03/17 Entered 06/03/17 11:21:32              Desc Main
                                   Document     Page 6 of 7



owed on the Credit Card. Although the Debtor attempted to resolve that initial stay violation

informally through a written warning, a subsequent bill was sent to the Debtor a subsequent bill

threatening that “…WE ARE CONSIDERING ADDITIONAL COLLECTION ACTION.”

26.    The Creditors committed these actions with actual notice of the automatic stay, causing

the Debtor to suffer actual damages, including emotional distress. Additionally, the Creditors’

persistence in attempting to collect from the Debtor after receiving written notice that such

conduct violates the automatic stay, warrants an award of punitive damages.

       WHEREFORE, for the reasons set forth herein, the Debtor respectfully requests that this

Court enter an order:

       a.) finding the Creditors jointly and severally liable for willfully violating the automatic

       stay provisions of 11 U.S.C. § 362; and

       b.) awarding the Debtor a sum to be determined by this Court to compensate him for his

       actual and punitive damages; and

       c.) awarding attorney’s fees and costs for bringing this action, with such sums to be paid

       by the Creditors; and

       d.) granting all other relief to which the Debtor may be entitled.


Dated: June 2, 2017.                  Respectfully submitted by the Debtor, through his attorney:

                                                              /s/ Casey J. Lee
                                                              ______________________
                                                              Casey J. Lee, Esq. (R.I. Bar # 8454)
                                                              P.O. Box 2391
                                                              Providence, RI 02906
                                                              (401) 4004005
                                                              casey@cjlfirm.com




                                                 6
Case 1:17-bk-10644       Doc 11     Filed 06/03/17 Entered 06/03/17 11:21:32             Desc Main
                                    Document     Page 7 of 7



                     NOTICE OF MOTION AND TIME TO RESPOND

Within fourteen (14) days after service, if served electronically, as evidenced by the
certification, and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served
by mail or other excepted means specified, any party against whom such paper has been
served, or any other party who objects to the relief sought, shall serve and file an objection
or other appropriate response to said paper with the Bankruptcy Court Clerk's Office, 380
Westminster Street, 6th Floor, Providence, RI 02903, (401) 626-3100. If no objection or
other response is timely filed, the paper will be deemed unopposed and will be granted
unless: (1) the requested relief is forbidden by law; (2) the requested relief is against public
policy; or (3) in the opinion of the Court, the interest of justice requires otherwise.




                                 CERTIFICATE OF SERVICE

I certify that on the 3rd day of June, 2017, I served a copy of this motion on the following parties
using the methods indicated below:

Electronically via CM/ECF:

Gary L. Donahue, Assistant U.S. Trustee                 Charles Pisaturo, Esq.
Office of the United States                             Trustee Chapter 7 Trustee

By certified mail, return receipt requested, and first class mail, postage prepaid:

 Lamiaa E. Elfar, Registered Agent                    Reese Howell, CEO
 Continental Finance Company, LLC                     Celtic Bank
 121 Continental Drive, Suite 108                     268 S. State Street, Suite 300
 Newark, DE 19713                                     Salt Lake City, UT 84111

 Certified mail no.,                                  Certified mail no.,
 9414 7102 0083 0584 2657 42                          9414 7102 0082 9418 8998 57


 Surge MasterCard                                     Surge
 Cardholder Services                                  P.O. Box 3220
 P.O. Box 8099                                        Buffalo, NY 14240
 Newark, DE 19714
                                                      Certified mail no.,
 Certified mail no.,                                  9414 7102 0088 2418 9491 75
 9414 7102 0082 9418 9006 69
                                                               /s/ Casey J. Lee
                                                               ______________________

                                                  7
